     Case 2:17-cr-00180-JAD-NJK      Document 181        Filed 08/18/17   Page 1 of 9



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 2   Nevada Bar Number 9635
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     Counsel for the United States of America
 6

 7                 UNITED STATES DISTRICT COURT
 8
                        DISTRICT OF NEVADA
                                            -oOo-
 9
     UNITED STATES OF AMERICA,                       )   Case No.: 2:17-cr-00180-JAD-PAL
10                                                   )
                  Plaintiff,                         )
11                                                   )    PROPOSED COMPLEX
           vs.
                                                     )    CASE ORDER
12                                                   )    (STIPULATION)
                                                     )
13      1) CHANNING WILLIAMS                         )
        2) EVERLY JAMES                              )
        3) KORREGAN WASHINGTON
                                                     )
14                                                   )
        4) KEENAN ST. HILLAIRE                       )
15      5) MAURICE LEWIS                             )
        6) KALEB LOUIS                               )
                                                     )
16      7) CODY WILLIAMS-JACKSON                     )
17
        8) TORREN JAMES                              )
        9) DOMINIQUE WASHINGTON                      )
18      10) DEMANI DANCY                             )
                                                     )
        11) TREVIONNE WILLIAMS                       )
19      12) CASEY WALTERS JR.                        )
        13) KEITH BELL                               )
        14) DENZEL CAMPBELL
20                                                   )
                                                     )
        15) TREVAUGHN JAMES                          )
21
        16) DANIEL WILSON,                           )
                                                     )
22                                                   )
                                Defendants.
                                                     )
23                                                   )
                                                     )
24                                                   )
                                                 1
     Case 2:17-cr-00180-JAD-NJK           Document 181          Filed 08/18/17     Page 2 of 9



 1
             Pursuant to Local Rule 16-1, the United States, by and through the undersigned, and
 2
     Defendants, by and through undersigned counsel, submit this Proposed Complex Case
 3
     Schedule as follows:
 4
             1.      Complex Case. The parties stipulate that this is a complex case within the
 5
     meaning of that term under Title 18, United States Code, Section 3161(h)(7)(B)(ii), in that
 6
     the nature of the prosecution is such that it is unreasonable to expect adequate trial
 7
     preparation within the time limits prescribed by the Speedy Trial Act.
 8
             2.      Trial Date. The parties stipulate that they seek to vacate the current trial
 9
     setting for this matter on August 22, 2017, and set the matter for a firm trial setting in or
10
     about May 7, 2018. The United States anticipates it will need no more than two weeks to
11
     present its case-in-chief.
12
             3.      Excluded Time. The parties stipulate that all time from the entry of
13
     Defendants’ pleas in this case until the trial of this matter is excluded under Title 18, United
14
     States Code, Section 3161(h)(7)(A) as the ends of justice outweigh the interests of the
15
     public and defendant in a speedy trial.
16
             4.      Pretrial Motions. The parties stipulate that:
17
                     A.      They shall have to and including January 25, 2018 within which to
18
     file any and all pretrial motions and notice of defense;
19
                     B.      They shall have twenty-one (21) days after the filing of a pretrial
20
     motion within which to file any and all responsive pleadings;
21
                     C.      They shall have seven (7) days after the filing of a responsive
22
     pleading within which to file and all replies to dispositive motions.
23
                     D.      For matters which have been referred to a United States Magistrate
24
                                                     2
     Case 2:17-cr-00180-JAD-NJK            Document 181           Filed 08/18/17     Page 3 of 9



 1   Judge for Findings and Recommendations (F&R), the parties shall have fourteen (14) days
 2   from the entry of the F&R to file any objections thereto, and shall have seven (7) days after
 3   the filing of any objections to file a response, except as stipulated by the parties and
 4   approved by the Court.
 5           5.      The Parties’ Discovery Obligations
 6                   A.      The United States shall begin providing its Rule 16 disclosures to the
 7   defendant within thirty (30) days of arraignment and, consistent with its ongoing discovery
 8   obligations, turn over additional materials as they become available.
 9                   B.      The defendants’ Rule 16 disclosures, including, specifically,
10   disclosures related to expert witness testimony, should be made immediately, or, in all
11   events, no later than on or before seventy-five (75) days before the date set for trial by this
12   Court, in order to allow for sufficient trial preparation.
13                   C.      The United States is not required to disclose Jencks material until
14   after the government witness testifies on direct examination. 18 U.S.C. § 3500(b).
15   Nonetheless, in the interest of efficiency, the United States will consent to disclose Jencks
16   materials no later than twenty-one (21) days before trial, except: (1) with permission of the
17   Court, for good cause shown; and (2) with the caveat that the United States does not consent
18   to any remedy for any violation of the twenty-one (21) day disclosure deadline that would
19   preclude it from calling a witness at trial (that is, it reserves the right to argue to the Court
20   that exclusion of the witness is not a proper remedy).
21   ///
22   ///
23

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                                                      3
     Case 2:17-cr-00180-JAD-NJK           Document 181      Filed 08/18/17      Page 4 of 9



 1          WHEREFORE, the parties respectfully request that the Court enter a Scheduling
 2   Order addressing these issues and such other issues as the Court deems appropriate. All
 3   below undersigned counsel agree to this stipulation, except Chris Rasmussen, who
 4   represents Maurice Lewis, because he stated on behalf of his client he cannot agree to the
 5   proposed trial date.
 6   DATED this 27 day of July, 2017.
 7    Respectfully Submitted,                   For the United States:
 8                                              STEVEN W. MYHRE
                                                Acting United States Attorney
 9

10                                              /s/ Kilby Macfadden____________________
                                                CRISTINA D. SILVA
11                                              KILBY C. MACFADDEN
                                                Assistant United States Attorneys
12

13
      For Defendant CHANNING                    For Defendant EVERLY JAMES (2):
14    WILLIAMS (1):
15
      __/s/ Paul Riddle                         _/s/ Christopher Oram
16    Paul Riddle                                Christopher Oram
      Assistant Federal Public Defender
17

18
      For Defendant KEENEN ST.                  For Defendant MAURICE LEWIS (5):
19    HILAIRE (4):
20
      /s/ Terrence Jackson                      __________________________
21    Terrence Jackson                          Chris Rasmussen
22

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                                                   4
     Case 2:17-cr-00180-JAD-NJK       Document 181     Filed 08/18/17    Page 5 of 9



 1    For Defendant KALEB LOUIS (6):        For Defendant Cody Williams-Jackson (7):
 2

 3    __/s/ Maysoun Fletcher ___           __/s/ Telia Williams
      Maysoun Fletcher                      Telia U. Williams
 4

 5    For Defendant DOMINIQUE              For Defendant DEMANI DANCY (10):
      WASHINGTON (9):
 6

 7    _/s/ David Fischer                   _/s/ Lucas Gaffrey
      David Fischer                         Lucas Gaffrey
 8

 9
      For Defendant Trevionne Williams     For Defendant Casey Walters, Jr. (12):
10    (11):
11
      _/s/ Michael Miceli                  _/s/ Kathleen Bliss
12    Michael Miceli                        Kathleen Bliss
13

14    For Defendant KEITH BELL (13):        For Defendant Denzel Campbell (14):
15

16    _/s/ Jess Marchese                   ____/s/ Paola Armeni
       Jess Marchese                        Paola Armeni
17

18

19
      For Defendant Trevaughn James         For Defendant Daniel Wilson (16):
20    (15):
21
      __/s/ Russell Marsh                  _/s/ Lance Maningo
22     Russell Marsh                        Lance Maningo
23

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     Case 2:17-cr-00180-JAD-NJK          Document 181         Filed 08/18/17      Page 6 of 9



 1
                     UNITED STATES DISTRICT COURT
 2                        DISTRICT OF NEVADA
                                                 -oOo-
 3
     UNITED STATES OF AMERICA,                           )    Case No.: 2:17-cr-00180-JAD-PAL
 4                                                       )
                    Plaintiff,                           )
 5                                                       )    COMPLEX CASE
                                                         )
            vs.                                               SCHEDULING ORDER
 6                                                       )
                                                         )
        1) CHANNING WILLIAMS                             )
 7
        2) EVERLY JAMES                                  )
        3) KORREGAN WASHINGTON
                                                         )
 8                                                       )
        4) KEENAN ST. HILLAIRE                           )
 9      5) MAURICE LEWIS                                 )
        6) KALEB LOUIS                                   )
                                                         )
10      7) CODY WILLIAMS-JACKSON                         )
        8) TORREN JAMES                                  )
        9) DOMINIQUE WASHINGTON
11                                                       )
12      10) DEMANI DANCY                                 )
                                                         )
        11) TREVIONNE WILLIAMS                           )
13      12) CASEY WALTERS JR.                            )
        13) KEITH BELL                                   )
        14) DENZEL CAMPBELL
14                                                       )
                                                         )
        15) TREVAUGHN JAMES                              )
15
        16) DANIEL WILSON,                               )
                                                         )
16                                                       )
                                                         )
17

18
            This matter coming before the Court on the parties’ Proposed Complex Case
19
     Schedule, the premises therein considered, and good cause showing, the Court orders as
20
     follows:
21
            1.      Complex Case. This is a complex case within the meaning of that term under
22
     Title 18, United States Code, Section 3161(h)(7)(B)(ii), in that the nature of the prosecution
23
     is such that it is unreasonable to expect adequate trial preparation within the time limits
24
                                                    6
     Case 2:17-cr-00180-JAD-NJK           Document 181        Filed 08/18/17      Page 7 of 9



 1   prescribed by the Speedy Trial Act.
 2          2.      Trial Date. The current trial setting for this matter on August 22, 2017 is
 3                                  May 8, 2018, at 9:00 a.m.
     vacated, and rescheduled to ________________________________________. Calendar
 4                         April 30, 2018, at 1:30 p.m.
     Call is set for ____________________________________________.
 5          3.      Excluded Time. The parties stipulate that all time from the entry of
 6   Defendants’ pleas in this case until the trial of this matter is excluded under Title 18, United
 7   States Code, Section 3161(h)(7)(A) as the ends of justice outweigh the interests of the
 8   public and defendant in a speedy trial.
 9          4.      Pretrial Motions. The parties shall have:
10                  A.      To and including January 25, 2018, within which to file any and all
11   pretrial motions and notices of defense;
12                  B.      To and including twenty-one (21) days after the filing of a pretrial
13   motion within which to file any and all responsive pleadings;
14                  C.      To and including seven (7) days after the filing of a responsive
15   pleading within which to file and all replies to dispositive motions.
16                  D.      For matters referred to a United States Magistrate Judge for Findings
17   and Recommendations (F&R), the parties shall have fourteen (14) days from the entry of the
18   F&R to file any objections thereto, and shall have seven (7) days after the filing of any
19   objections to file a response, except as stipulated by the parties and approved by the Court.
20          5.      The Parties’ Discovery Obligations
21                  A.      The United States shall begin providing its Rule 16 disclosures to the
22   defendant within thirty (30) days of arraignment and, consistent with its ongoing discovery
23   obligations, turn over additional materials as they become available.
24
                                                    7
     Case 2:17-cr-00180-JAD-NJK            Document 181           Filed 08/18/17     Page 8 of 9



 1                   B.      The defendants’ Rule 16 disclosures, including, specifically,
 2   disclosures related to expert witness testimony, should be made immediately, or, in all
 3   events, no later than on or before seventy-five (75) days before the date set for trial by this
 4   Court, in order to allow for sufficient trial preparation.
 5                   C.      The United States is not required to disclose Jencks material until
 6   after the government witness testifies on direct examination. 18 U.S.C. § 3500(b).
 7   Nonetheless, in the interest of efficiency, the United States will consent to disclose Jencks
 8   materials no later than twenty-one (21) days before trial, except: (1) with permission of the
 9   Court, for good cause shown; and (2) with the caveat that the United States does not consent
10   to any remedy for any violation of the twenty-one (21) day disclosure deadline that would
11   preclude it from calling a witness at trial (that is, it reserves the right to argue to the Court
12   that exclusion of the witness is not a proper remedy).
13   IT IS SO ORDERED:
14

15
     ________________________________                                 August 17, 2017
                                                                      ____________________
16   HONORABLE PEGGY A LEEN
                                                                      Date
17   UNITED STATES MAGISTRATE JUDGE
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     Case 2:17-cr-00180-JAD-NJK      Document 181      Filed 08/18/17    Page 9 of 9



 1                              CERTIFICATE OF SERVICE

 2          A copy of the foregoing PROPOSED COMPLEX CASE ORDER

 3   (STIPULATION) was served on counsel of record by Electronic Case Filing on this 27th

 4   day of July 2017.

 5

 6

 7                                             _/s/_Kilby Macfadden__________________
                                               Kilby Macfadden
 8                                             Assistant United States Attorney

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